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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


JENNIFER VANDERSTOK et al.,

       Plaintiffs,                           Case No. 4:22-cv-00691-O

  v.

MERRICK GARLAND, in his official
capacity as Attorney General of the United
States et al.,

       Defendants.




 DEFENDANTS’ COMBINED OPPOSITION TO DEFENSE DISTRIBUTED AND
 JSD SUPPLY’S EMERGENCY MOTIONS FOR INJUNCTION PENDING APPEAL
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        This Court has entered final judgment on Defense Distributed and JSD Supply’s claims, and

its decision resolving the parties’ cross-motions for summary judgment and accompanying final

judgment have been appealed to the Fifth Circuit. Now, those plaintiffs seek to obtain additional

injunctive relief. It is unclear whether this Court retains jurisdiction to entertain Defense Distributed’s

and JSD Supply’s requests. And, at the least, any injunctive relief that this Court enters should

automatically dissolve after the Fifth Circuit has ruled on Defendants’ pending motion for a stay

pending appeal.

        The Court’s Final Judgment resolved all of Defense Distributed’s and JSD Supply’s claims.

See Final Judgment at 1-2, ECF No. 231 (ordering, judging, and decreeing that, inter alia, “1. Plaintiffs’

and Intervenor-Plaintiffs’ motions for summary judgment on grounds that the Final Rule was issued

in excess of ATF’s statutory jurisdiction (Counts I and III) are GRANTED and Defendants’ cross-

motion for summary judgment as to those claims are DENIED. . . . 3. The parties’ remaining claims

are DENIED as moot. 4. All other relief not expressly granted herein is denied.”). The Court’s Final

Judgment is on appeal to the Fifth Circuit. Notice of Appeal, ECF No. 234.

        “The filing of a notice of appeal is an event of jurisdictional significance—it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects of the case

involved in the appeal.” Wooten v. Roach, 964 F.3d 395, 403 (5th Cir. 2020) (emphasis added) (quoting

Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)). “It is well-settled that a notice of appeal

filed after entry of a final judgment on the merits divests the district court of jurisdiction over the portion

of a suit resolved by the final judgment.” Thomas v. St. Martin Par. Sch. Bd., 879 F. Supp. 2d 535, 543 (W.D.

La. 2012) (emphasis added) (citing Griggs), aff’d, 756 F.3d 380 (5th Cir. 2014).

        The filing of Defendants’ Notice of Appeal vested jurisdiction over injunctive relief pertaining

to Defense Distributed’s and JSD Supply’s claims in the Fifth Circuit. And the Fifth Circuit has strictly

limited the authority of a district court under Fed. R. Civ. P. 62(d) to issue injunctive relief pending an


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appeal. It has emphasized that “the powers of the district court over an injunction pending appeal

should be limited to maintaining the status quo and ought not to extend to the point that the district

court can divest the court of appeals from jurisdiction while the issue is before us on appeal.” Coastal

Corp. v. Texas E. Corp., 869 F.2d 817, 820 (5th Cir. 1989); see also id. (agreeing with the Fourth Circuit

that Rule 62(d)—formerly Rule 62(c)—is “applicable only when necessary to secure the rights of the

party adversely affected by the injunction” and that “[a]bsent such circumstances, once a party has filed an

appeal of a district court’s order granting an injunction, the district court no longer has any authority to

amend or vacate the order”) (emphasis added). Under those principles, it is at least unclear whether

this Court retains authority to enter new, affirmative injunctive relief now that the appeal is pending

in the court of appeals.

        Furthermore, Defense Distributed and JSD Supply err in asserting that an order staying this

Court’s final judgment would “resurrect[]” the Court’s entry of preliminary injunctive relief for

Defense Distributed. Def. Distributed Mot. for Injunction at 2, ECF No. 239. As this Court has

observed, “[a] preliminary injunction remains in effect until a final judgment is rendered,” and ‘[w]ith

the entry of the final judgment, the life of the preliminary injunction comes to an end, and it no longer

has a binding effect on any one.” Texas v. United States, No. 15-56, 2016 WL 3636072, at *2 (N.D.

Tex. Feb. 2, 2016) (quoting SEC v. First Fin. Grp. of Tex., 645 F.2d 429, 433 (5th Cir. 1981), and Madison

Square Garden Boxing, Inc. v. Shavers, 562 F.2d 141, 144 (2d Cir. 1977)). Defense Distributed and JSD

Supply cite no support for the proposition that a stay of the Court’s final judgment revives the

preliminary injunction in effect before that final judgment was entered. 1



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  To the extent that Defense Distributed’s motion incorporates by reference its prior arguments in
support of its (now-terminated) motion for a preliminary injunction, Defendants respectfully
incorporate by reference all arguments in opposition to that prior motion. See ECF No. 176.
Moreover, JSD Supply’s filing as a non-party purporting to seek preliminary injunctive relief was not
properly before the Court, see Notice, ECF No. 156, and the Court has declined to grant JSD Supply
preliminary injunctive relief. See Docket Entry, ECF No. 227.
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        In any event, even if this Court were to enter some form of relief, any such relief should be

crafted to terminate once the Fifth Circuit acts on Defendants’ pending motion for a stay pending

appeal or the administrative stay of the vacatur order expires. At that point, either (1) the vacatur

order will again be in place—either because the administrative stay has expired or because the Fifth

Circuit has denied the motion for a stay pending appeal—and there will be no need for additional

injunctive relief; or (2) the Fifth Circuit will have determined to enter its own stay and this Court

should decline to interfere with that exercise of the court of appeals’ equitable authority.

        Because the Court may well lack jurisdiction to entertain Defense Distributed’s and JSD

Supply’s motions for injunctive relief after this Court has already entered final judgment on all of those

plaintiffs’ claims, the Court should deny their motions. And this Court should ensure any relief that

is entered will automatically dissolve once the Fifth Circuit has ruled on Defendants’ stay motion or

the administrative stay expires.

DATED: July 19, 2023                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       On July 19, 2023, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Northern District of Texas, using the electronic case filing system of the

court. I hereby certify that I have served all parties electronically or by another manner authorized by

Federal Rule of Civil Procedure 5(b)(2).

                                                                       /s/ Daniel Riess




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